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 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   SouthernDistrict
                                               __________   Districtofof__________
                                                                         Texas

                   United States of America                        )
                              v.                                   )
                 Adan Roberto CASCO-Valle                          )      Case No.
                      Los Fresnos, TX                              )                 L-18-PO3865
                            US                                     )
                                                                   )
                                                                   )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                   May 10, 2018                in the county of                   Hidalgo             in the
       Southern         District of           Texas            , the defendant(s) violated:

             Code Section                                                    Offense Description
8 USC 1325(a)(1)                            an alien, did unlawfully enter and attempt to enter the United States at a place other than
                                            designated by an immigration officer.




          This criminal complaint is based on these facts:
Furthermore, it is based on verbal statements by, Adan Roberto CASCO-Valle, who admitted being a citizen of Honduras, who
entered or attempted to enter illegally into the United States by wading the Rio Grande River near, Hidalgo, Texas, thus avoiding
immigration inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal entry or
attempted entry took place on May 10, 2018.




              Continued on the attached sheet.
                                                                                                          /S/
                                                                                                Complainant’s signature

                                                                          Francisco Perez Iii                , Border Patrol Agent
                                                                                                 Printed name and title

 Sworn to before me and signed in my presence.


 Date: May 17, 2018
                                                                                                   Judge’s signature

 City and state:      Laredo, Texas                                       Diana Song Quiroga                 , U.S. Magistrate Judge
                                                                                                 Printed name and title
